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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY

      Caption in Compliance with D.N.J. LBR 9004-1(b)

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      In Re:                                                     Adv. No.:
      LTL MANAGEMENT LLC,                                        Hearing Date:            April 12, 2022 at 10:00 a.m.

                                                                 Judge:                   Hon. Michael B. Kaplan
                                       Debtor.1



                                        CERTIFICATION OF SERVICE

     1. I, Tacie H. Yoon:

               ☒ represent Century Indemnity Company, ACE Property and Casualty Insurance Company (f/k/a


1
       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George Street,
New Brunswick, New Jersey 08933.
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      CIGNA Property & Casualty Insurance Company), Great Northern Insurance Company, Pacific
      Employers Insurance Company, and Westchester Fire Insurance Company (the “Century Insurers”) in
      this matter.

          ☐ am the secretary/paralegal for , who represents in this matter.

          ☐ am the in this case and am representing myself.

 2.       On March 30, 2022, I sent a copy of the following pleadings and/or documents to the parties
          listed in the chart below.
          Century Insurers’ Joinder in Travelers’ Company’s Motion for an Order Adding Travelers as a
          Mediation Party or, in the Alternative, Modifying the Mediation Order


 3.       I certify under penalty of perjury that the above documents were sent using the mode of service
          indicated.

 Date:    March 30, 2022                                  /s/ Tacie H. Yoon
                                                          Signature

 Name and Address of Party Served              Relationship of                     Mode of Service
                                              Party to the Case
 See attached Exhibit A                                               ☐ Hand-delivered
                                                                      ☐ Regular mail
                                                                      ☐ Certified mail/RR
                                                                      ☒ Other email
                                                                         (As authorized by the Court or by rule. Cite
                                                                      the rule if applicable.)


                                                                      ☐ Hand-delivered
                                                                      ☐ Regular mail
                                                                      ☐ Certified mail/RR
                                                                      ☐ Other Click or tap here to enter text.
                                                                         (As authorized by the Court or by rule. Cite
                                                                      the rule if applicable.)



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